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Local AO 2468 (Rev 12/20 II) Order for a Presentence Investigation and Report                                      L.J n~ (; ;:,'<fi :~ A .:C. " .) ~,
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                                     UNITED STATES DISTRICT COURT                                                         FI LED AT HARTFOriO
                                                                         for the                                                                         2u/'f
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                                                                District of Connecticut
                                                                                                                    8y'~~~~&--
                 United States of America                                   )
                                v.                                          )        Case No,      3:14CR48 (RNC)
                        ANTHONY TESTa
                                                                            )
                                                                            )
                            Defendant                                       )

                              ORDER FOR A PRESENTENCE INVESTIGATION AND REPORT

         This defendant having been found gUilty of one or more offenses against the United States, the probation office
is ordered to conduct an investigation and prepare a (check one) IZI standard report D modified report, to be used by this
court in sentencing,

IT IS FURTHER ORDERED that:

  D At least 42 days before sentencing or IZl by _ __ Ju_I_2_2,,-2_0_1_4___ , the initial presentence report shall be
  disclosed to counsel.


  D   Within 14 days after receiving the report or IZI by _ _ _A_ug"'--'
                                                                      s,c..2._O_' _4 _ _ ---1. the counsel shall submit to the
  probation office any objections in writing, or a statement that there are no objections.


  D     No later than 10 days after the deadline for counsel's objections orlZl _ __ A
                                                                                     _ u,...;9" --
                                                                                                 'S---',-_2_0_'4_ _ _ __
  the probation officer shall submit the final presentence report and any addenda to the court and disclose the revised
  presentence report to the defendant and counsel for the defendant and the government.


Sentencing Memorandum Date:                           Aug 22, 20'4

Response to Sentencing Memorandum Date:                               Aug 27, 2014


                                                                          9/2/14 at 10:00 a.m.
          The sentencing date (check one)           IZI is set for
                                                    Dwill be set at a later date.


        Within 3 days, the probation officer and defense counsel will arrange for a mutually convenient date,
time, and place for the presentence interview.



Date:             Jun 20, 2014                                /s/ DFM

                                                                                      Donna F. Martinez, U. S. Magistrate Judge
                                                                                                 Printed name and title
